           Case 18-07816-RLM-7                Doc 7       Filed 10/17/18          EOD 10/18/18 00:32:59               Pg 1 of 3
                                               United States Bankruptcy Court
                                               Southern District of Indiana
In re:                                                                                                     Case No. 18-07816-RLM
Natosha Ann Bird                                                                                           Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0756-1                  User: admin                        Page 1 of 1                          Date Rcvd: Oct 15, 2018
                                      Form ID: b309a                     Total Noticed: 16


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Oct 17, 2018.
db             +Natosha Ann Bird,   9510 Maple Way,    Indianapolis, IN 46268-3278
15029606       +Collection Associates,   P.O. Box 349,    Greensburg, IN 47240-0349
15029607       +Eskenazi,   720 Eskenzai Ave.,   Indianapolis, IN 46202-5190
15029609        Loancare Service,   3637 Sentara Wyste #303,    Virginia Beach, VA 23452
15029610       +Medical Business Bureau,   P.O. Box 1219,    Park Ridge, IL 60068-7219
15029613       +Personal Finance,   c/o Bleecker Brodey,    9247 N. Meridian St. #101,
                 Indianapolis, IN 46260-1813
15029614       +Phoenix Financial,   8902 Otis Ave. #103A,    Indianapolis, IN 46216-1009

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: ssharondove@aol.com Oct 15 2018 23:09:13       Richard P. Batesky, Jr.,
                 22 E Washington St Ste 610,    Indianapolis, IN 46204
tr             +EDI: FDJCARUSO.COM Oct 16 2018 03:03:00      Deborah J. Caruso,    Office of Deborah J. Caruso,
                 135 N. Pennsylvania St, Suite 1400,    Indianapolis, IN 46204-2489
ust            +E-mail/Text: ustpregion10.in.ecf@usdoj.gov Oct 15 2018 23:09:51       U.S. Trustee,
                 Office of U.S. Trustee,    101 W. Ohio St.. Ste. 1000,    Indianapolis, IN 46204-1982
15029604       +EDI: ACECASHXPRESS.COM Oct 16 2018 03:04:00      Ace Cash,    1231 Greenway Dr. #600,
                 Irving, TX 75038-2511
15029605       +E-mail/Text: support@bullcityfinancial.com Oct 15 2018 23:10:54       Bull City,
                 2609 N. Duke St. #500,    Durham, NC 27704-0015
15029608       +EDI: PHINHARRIS Oct 16 2018 03:04:00      Harris & Harris,    111 W. Jackson Blvd.#400,
                 Chicago, IL 60604-4135
15029611       +EDI: NAVIENTFKASMSERV.COM Oct 16 2018 03:03:00       Navient,   P.O. Box 9500,
                 Wilkes Barre, PA 18773-9500
15029612       +EDI: AGFINANCE.COM Oct 16 2018 03:03:00      Onemain Financial,    P.O. Box 1010,
                 Evansville, IN 47706-1010
15029615       +EDI: WFFC.COM Oct 16 2018 03:03:00      Wells Fargo,    P.O. Box 14517,
                 Des Moines, IA 50306-3517
                                                                                               TOTAL: 9

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Oct 17, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 13, 2018 at the address(es) listed below:
NONE.                                                                                       TOTAL: 0
       Case 18-07816-RLM-7                     Doc 7        Filed 10/17/18           EOD 10/18/18 00:32:59                      Pg 2 of 3
 Information to identify the case:
                   Natosha Ann Bird                                               Social Security number or ITIN:    xxx−xx−3270
 Debtor:
                   Name                                                           EIN: _ _−_ _ _ _ _ _ _

 United States Bankruptcy Court − Southern District of Indiana                    Date case filed in chapter 7:   October 11, 2018
 Case number:      18−07816−RLM−7


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                          12/2015

For the debtor listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has been
entered.

This notice has important information about the case for creditors, the debtor, and trustees, including information
about the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot sue,
garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtor. Creditors cannot demand
repayment from the debtor by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although the debtor can ask the court to extend or impose a stay.

The debtor is seeking a discharge. Creditors who assert that the debtor is not entitled to a discharge or who want a debt
excepted from discharge may be required to file a complaint within the deadlines specified in this notice. (See "Deadlines"
section for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records) at pacer.insb.uscourts.gov.

                                 The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify the debtor on this case, the debtor must submit a full Social Security or Individual
Taxpayer Identification Numbers, which may appear on a version of this notice. However, the full numbers must not
appear on any document filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

1. Debtor's full name                  Natosha Ann Bird
2. Other names                         None
     (used in last 8 years)
3. Address                             9510 Maple Way
                                       Indianapolis, IN 46268
4. Debtor's attorney                   Richard P. Batesky Jr.                                 Contact info: 317−638−3471 or
     Name and address                  22 E Washington St Ste 610                             ssharondove@aol.com
                                       Indianapolis, IN 46204
5. Bankruptcy trustee                  Deborah J. Caruso                                      Contact info: 317−634−0300 or
     Name and address                  Office of Deborah J. Caruso                            trusteecaruso@rubin−levin.net
                                       135 N. Pennsylvania St, Suite 1400
                                       Indianapolis, IN 46204
                                                                                                                  For more information, see page 2 >




Official Form 309A (For Individuals or Joint Debtors)   Notice of Chapter 7 Bankruptcy Case                                                  Page 1
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Debtor Natosha Ann Bird                                                                                                   Case number 18−07816−RLM−7

6. Bankruptcy clerk's office United States Bankruptcy Court                                                Open weekdays 8:30 AM − 4:30 PM ET
   Documents in this case may be     Southern District of Indiana
   filed at this address or          46 E. Ohio St., Rm. 116                                               Contact info: 317−229−3800
   ecf.insb.uscourts.gov. You may
   inspect all records filed in this Indianapolis, IN 46204
     case at this office or
     pacer.insb.uscourts.gov.
7. Meeting of creditors                   November 13, 2018 at 1:30 PM EST                                 Location:
     The debtor must attend the                                                                            Rm. 416C U.S. Courthouse
     meeting to be questioned under       The debtor MUST provide picture identification and               46 E. Ohio St.
     oath. Creditors may attend but       proof of social security number to the trustee at the
     are not required to do so. If the    meeting of creditors. Failure to do so may result in the case
                                                                                                           Indianapolis, IN 46204
     meeting is continued or              being dismissed. Language interpretation of the meeting of
     adjourned to a later date, the       creditors will be provided to the debtor at no cost through a
     date will be on the court docket.    telephone interpreter service upon request made to the
                                          trustee. These services may not be available at all locations.
8. Presumption of abuse                   The presumption of abuse does not arise.
     If the presumption of abuse
     arises, you may have the right to
     file a motion to dismiss the case
     under 11 U.S.C. § 707(b). The
     debtor may rebut the
     presumption by showing special
     circumstances.
9. Deadlines                              Deadline to object to discharge or challenge
     The bankruptcy clerk's office        whether certain debts are dischargeable:                         January 14, 2019
     must receive these documents
     and any required filing fee by the   You must file a complaint by the deadline:                       You must file a motion by the deadline:
     following deadlines.                 • if you assert that the debtor is not entitled to a             • if you assert that the discharge should be
                                            discharge under 11 U.S.C. § 727(a)(2)−(7) or                     denied under 11 U.S.C. § 727(a)(8) or
                                                                                                             (9).
                                          • if 11 U.S.C. § 523(a)(2), (4), or (6) applies to
                                            your claim and you seek to have it excepted
                                            from discharge.

                                          Objection to exemptions:
                                          The law permits the debtor to keep certain property as exempt. If you believe the law does not
                                          authorize an exemption claimed by the debtor, you may file an objection no later than 30
                                          days after the meeting of creditors concludes.
10. Proof of claim                        No property appears to be available to pay creditors. Therefore, please do not file a proof of
     Do not file a proof of claim         claim now. If it later appears that assets are available to pay creditors, the clerk will send you
     unless you receive a notice to do    another notice telling you that you may file a proof of claim and stating the deadline.
     so.
11. Creditors with a foreign              If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
    address                               asking the court to extend the deadlines in this notice. Consult an attorney familiar with United
                                          States bankruptcy law if you have a question about your rights in this case.
12. Exempt property                       The law allows the debtor to keep certain property as exempt. Fully exempt property will not
                                          be sold and distributed to creditors. The debtor must file a list of property claimed as exempt.
                                          You may inspect that list at the bankruptcy clerk's office or pacer.insb.uscourts.gov. If you
                                          believe the law does not authorize an exemption claimed by the debtor, you may file an
                                          objection no later than 30 days after the meeting of creditors concludes.
13. Abandonment of property Pursuant to S.D.Ind. B−6007−1, a trustee's report of no distribution serves as a notice
                            proposing the abandonment of all property from the estate. No further notice of the
                            abandonment will be given unless a party in interest files a request for further notice of
                            abandonment no later than one day before the first date set for the 341 meeting. Any party
                            filing such a request will be given notice upon filing of the report of no distribution and have 14
                            days to object to the abandonment.




Official Form 309A (For Individuals or Joint Debtors)      Notice of Chapter 7 Bankruptcy Case                                                   Page 2
